Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page1of 23

EXHIBIT “B”
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P Atoineys for Robert A. Russell, an
, individual, Placer County Land Investors,

Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 2 of 23

12:05pm = FromeU.$. District Court 9513284478 T-503 = P.002 F903

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wa? UNITED STATES DISTRICT COURT
- CENTRAL DISTRICT OF CALIFORNIA — EASTERN DIVISION
Robert A. Russell, an individual, Case No. EDCV07-0343 SGL (JCRx)
Placer County Land Investors, LLC,
a California limited liability company, fReepescd) ORDER APPOINTING
and SVRB Investments, LLC, an PORARY RECEIVER,
Arizona limited liability company TEMPORARY RESTRAINING
ORDER AND OTHER EQUITABLE
Plaintiffs, RELIEF, AND ORDER TO SHOW
CAUSE WHY A PRELIMINARY
vs. INJUNCTION SHOULD NOT .
ISSUE AND A PERMANENT
USA Investment Partners, LLC, a RECEIVER SHOULD NOT BE
Nevada linuted liability company, APPOINTED
Defendant. Date: [To Be Set
Time: [To Be Set
Place: 3470 Twelfth St., Room 134
Riverside, CA 92501
This matter came before the Court on plaintiffs’ “Ex Parte Application for (1)

Temporary Receiver, (2) Temporary Restraining Order, (3) Other Equitable Relief,
and (4) Order to Show Cause why a Permanent Receiver Should Not be Appointed
and a Preliminary Injunction Should Not Issue” (the “Application”). The Court has

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diversity jurisdiction over this action and venue in this District is appropriate under
28 U.S.C. § 1391(a)(2). Based on the evidence presented, the argument of counsel,
the authority submitted, being otherwise fully advised in the matter, and good cause
having been shown, the Court hereby finds that:
I. FINDINGS OF FACT
A. Defendant, USA Investment Partners, LLC, ("USAIP" or
"Defendant") is a limited liability company organized under the laws of the State

of Nevada. The members of USAIP are Thomas A. Hantges (“Hantges”) and

Joseph D. Milanowski (“Milanowski”). Hantges owns a 57% membership
interest in USAIP. Milanowski owns a 43% membership interest in USATP.
Milanowski is the manager of USAIP: Hantges and Malinowski are collectively
referred to herein as the “Members”. )

B. The plaintiffs (the ‘Plaintiffs”) in this action are Placer County Land
Investors, LLC (“Placer”), SVRB Investments, LLC (“SVRB”), and Robert A.
Russell (“Russell”).

C. Russell, an individual, is a resident of the state of Arizona. Placer is
a limited liability company organized under the laws of the state of California,
The members of Placer are USAIP, Russell, and Land & Castle Investments, LLC
(“L&CT’). USAIP owns an 88% controlling membership interest in Placer.
Russell owns a 10% membership interest in Placer. L&CI owns a2%
membership interest in Placer. Russell has been the manager of Placer. On
March 20, 2007, Russell received a letter (the “Removal Letter”) from USAIP
seeking to replace him as manager of Placer with USAIP.

D.  SVRB isa limited liability company organized under the laws of the
state of Arizona. The members of SVRB are USAIP and Russell. USAIP owns a
50% membership interest in SVRB. Russell owns a 50% membership interest in.
SVRB. Russell is a manager of SVRB.

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 4of 23
12:05pm = From-U.$. District Court 9513284478 T-503 = P.004 F-903

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E. The primary assets of USAIP are equity interests in entities that own
real estate development projects in various stages of development, primarily
located in California and substantially located within the judicial district of this
Court.

_¥F. Currently, entities affiliated with the members of USAIP are the
subject of bankruptcy cases (the “Bankruptcy Cases”) pending in the United
States Bankruptcy Court for the District of Nevada. These entities include USA
Commercial Mortgage Company (“USACM”), USA Capital Realty Advisors,
LLC (“USACRA”), USA Securities, LLC (“USAS”), USA Capital First Trust
Deed Fund (“First”), and USA Capital Diversified Trust Deed Fund, LLC
(“Diversified”).

G. On January 3, 2007, the Honorable Linda B. Riegle, United States
Bankruptcy Judge in the jointly administered Bankruptcy Cases entered a
temporary restraining order with regard to an entity (HMA Sales, LLC) in which
USAIP holds a 90% equity interest.

H. Prior to the commencement of the Bankruptcy Cases, USAIP had
received financial support in the way of transfers and loans from USACM and
some of the related entities that are debtors in the Bankruptcy Cases. Subsequent
to the commencement of the Bankruptcy Cases, such support was not provided.

I. Hantges and Milanowski are the subject of an investigation requested
by the United States Securities and Exchange Commission (the “SEC”) and
conducted by the Federal Bureau of Investigation (the “FBI”) in connection with
the business and operations of USAIP and various related entities.

J. USAIP is controlled by Hantges and Milanowski. The Members
have admitted to Plaintiffs that during the pendency of the ongoing investigation
by the SEC and/or the FBI relating to their activities, they have been and will

continue to be precluded from effectively managing the operations of USAIP.

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 5of 23
12:05pm = From-U.$. District Court 9513284478 T-503  P.005 F-903

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K. USAIP has substantial liabilities under guarantees of loans made to
entities in which USAIP holds a membership interest. USAIP is also obligated to
Diversified pursuant to a loan that may amount to as much as $75 million or more.
This loan is secured by a general pledge of the membership interests held by
USAP.

L. USAIP has significant unpaid, delinquent obligations, including
those owing to Plaintiffs, and unperformed commitments, including those made to
Plaintiffs.

M. Parties, including Plaintiffs, with claims against USAIP and/or with
equity interests in entities in which USAIP also holds an equity interest face
imminent and irreparable harm to their opportunity for recovery on their claims
and/or equity interests. The assets of USAIP are at risk as long as USAJP remains
under the control of the Members.

“N. USAIP is unable to effectively function and the assets of USAIP are
diminishing in value as a result of the lack of any party currently in a position to
control the direction and operations of USAIP. Loans with respect to real estate
development projects owned by entities in which USAIP holds membership
interests, including entities in which Plaintiffs also hold membership interests, are
delinquent, real property taxes and other obligations owing with respect to such
projects are also delinquent.

O. Various real estate development projects owned by entities in which
USAIP owns membership interests, including those in which Plaintiffs also own
membership interests, are in need of refinancing.

P. In its current state, USAIP is unable to obtain refinancing, perform its
obligations or meet its commitments to its creditors, including Plaintiffs.

Q. The Removal Letter received by Placer from USAIP on March 20,

2007, threatens Placer with severe, immediate and irreparable harm. With its

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 6 of 23
12:06pm = From-U.$. District Court 9513284478 T-503 = P.008 F~903

Members under criminal investigation, USAIP is not capable of effectively
managing Placer.

R. Unless control of USAIP is promptly removed from Milanowski and
Hantges, Placer and all other creditors or USAIP and all parties with equity
interests in entities owning real estate in which USAIP also holds an equity
interest are faced with severe, immediate and irreparable harm.

S. An injunction is necessary to enjoin all but the Court from exercising
control of the Property (defined in paragraph 1 below) of the Receivership Estate
(defined in paragraph 1 below), and to prevent interference with this Court's
exclusive custody over the Property of the Receivership Estate.

T. This Court holds the Property in custodia legis, and based on the
common law standards pertinent to Receiverships and Injunctions:

a. any interference with the Court's custody of the Property will
result in real, immediate, and irreparable injury;

b. after the Receiver has filed its preliminary report pursuant to
paragraph 7 below, the Receiver will be able to demonstrate a
reasonable probability of success on the merits with regard to
protecting the interests of creditors of USAIP and preserving and
protecting the Property;

c. there is no plain, speedy, and adequate remedy at law to preserve
the Property and to protect it from waste absent the entry of an
Injunction; and

d. An Injunction will protect the Property and will not disserve the
public interests. .

U. An Equitable Stay is necessary to prevent courts of other jurisdictions

' from instructing the Receiver without application to this Court.

V. This Court finds that Waverton Group, LLC, a Colorado limited

liability company, with offices at 4101 East Louisiana Avenue, Suite 300, Denver,

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 7 of 23
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Colorado, 80246, is qualified and suitable to be appointed as Receiver for
Defendant.
IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED:
U. - APPOINTMENT OF TEMPORARY RECEIVER

1. Waverton Group, LLC, is appointed Temporary Receiver over

Defendant and the assets of Defendant (the "Property"), with such appointment to
take effect immediately and to continue, subject to further Order of this Court, for a
period no longer than the next Motion Day following the expiration of twenty (20)
days after the date of appointment. The Property and the claims against the Property
(the "Claims") shall be collectively referred to herein as the "Receivership Estate."

2. Before entering upon its duties, the Temporary Receiver shall be sworn
fp gocsus dae "Oath"), a receiver's bond (the "Bond") in the amount of
$ _ shall bé filed with the Clerk of this Court, and the Temporary Receiver
shall be qualified to do business in the State of California. The Bond shall be
maintained. until further order of this Court. The Receivership Estate shall bear the
expense of purchasing and maintaining the Bond.

3, The Temporary Receiver is hereby directed and empowered to take
immediate control of the Property for this Court to hold the Property in custodia
legis. The Temporary Receiver shall manage and preserve the Property, subject to
this Order, further Orders, and Instructions exclusively from this Court, subject to
the exclusive supervision and exclusive control of this Court.

4. In the Application and the Declarations submitted therewith, the
Plaintiffs have shown good cause that the Court should appoint the Temporary
Receiver without notice to creditors and make the appointment temporary under
L.R. 66-1.

5. The Court hereby Orders all parties to this Receivership Action and ali
known creditors of the Defendant to show cause why the appointment of the

Temporary Receiver should not be made permanent. The Temporary Receiver is

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 8 of 23
03-28-07 = 12:06pm = From-U.S. District Court 9513284478 T-503 P.008/023 = F-903

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instructed to serve a copy of this Order upon all parties to this Receivership Action
and all known creditors of the Defendant within twenty (20) days after the date this
Order is entered.

6. The Temporary Receiver's appointment hereunder shall continue until
the next Motion Day following the expiration of twenty (20) days after the date of
entry of this Order ( pert Z3 _,2007)at_/O am. On the Motion Day,
this Court will determine whether the appointment of the Temporary Receiver shall

be made permanent.

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7. The Temporary Receiver is hereby Instructed to file with this Court

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and serve upon the parties to this Receivership Action, within twenty (20) days after

the date this Order is entered, a preliminary report setting out the identity, location,

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and value of the Receivership Assets and any liabilities pertaining thereto. Further,

at the time the Temporary Receiver makes its preliminary report, the Temporary

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Receiver shall make recommendations to the Court, including a recommendation

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= 15 || whether, based on its preliminary report, the Temporary Receiver should be made
g 16 || permanent. After providing the parties and creditors of USAIP an opportunity to be
* ‘17 || heard, this Court will determine whether to accept the Temporary Receiver's
18 || recommendation.
19|/ 00. POWERS OF THE TEMPORARY RECEIVER
20 8. The Temporary Receiver is hereby given the powers and authority
21 || usually held by receivers and reasonably necessary to accomplish the purpose of this
22 || Receivership including, without limitation, the specific power to:
23 a. take immediate control of the Receivership Estate, to the
24 exclusion of all others;
25 b. take control of the Receivership Estate, and manage and preserve
26 the Receivership Estate as reasonably necessary to maximize the value
27 and prevent diminution of the value of the Receivership Estate; _
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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 9 of 23
12:06pm = From-U.$. District Court 9513284478 T-503 =P.008/023 «= F903

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c. retain security personnel as necessary to secure the Receivership
Estate;
d. manage, operate, rent, maintain, lease, protect, and otherwise

control the Receivership Estate;

e, collect rents and revenues, income, profits, and other benefits
from the operation and management of the Receivership Estate;

f. pay taxes, insurance, utility charges, rent and other expenses and
costs reasonably incurred in managing and preserving the Receivership
Estate;

g. hire, on a contract basis wherever possible, or as employees
where required by applicable federal law, the personnel necessary to
manage and preserve the Receivership Estate;

h. contract for and obtain such services, utilities, supplies,
equipment, and goods as are reasonably necessary to manage and
preserve the Receivership Estate and to make such repairs to the
Property as the Temporary Receiver may reasonably deem necessary
provided that no contract shall extend beyond the termination of the
Receivership without the permission of the Court;

1. make, enforce, modify, negotiate, and enter into such leases
(including equipment leases), contracts and concession agreements as
the Temporary Receiver may reasonably deem appropriate to manage
and preserve the Receivership Estate provided that no such lease,
contract, or agreement shall extend beyond the termination of the
Receivership without the permission of the Court;

j. open, transfer, and change all trade accounts relating to the
Receivership Estate, so that all such accounts are in the name of the

Receiver;

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 10 of 23

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From-U.$. District Court 9513284478 T-503 «= P.010/023 «= F-903

k. open, transfer and change all bank accounts relating to the
Receivership Estate, so that all such accounts are in the name of the
Receiver;

l. close USAIP's bank account or accounts and transfer the funds to
a bank account in the name of the Temporary Receiver;

m. invest the capital of the Receivership Estate, without the
permission of the Court, in savings accounts or in securities backed by
the full faith and credit of the United States;

n. obtain and renew all insurance policies that the Temporary
Receiver deems reasonably necessary to manage and preserve the
Receivership Estate and the interest of the Temporary Receiver and the
parties to this action;

0, enter into contracts for those services reasonably necessary to aid
the Temporary Receiver in the administration of the Receivership,
including the retention of attorneys and accountants, with all reasonable
expenses incurred in connection therewith deemed to be expenses of
the Receivership, provided that no such contract shall extend beyond
the termination of the Receivership without the permission of the
Court; .

p. borrow from the parties and the claimarits of USAITP on an
unsecured basis and on such other reasonable terms as may be
acceptable to the Temporary Receiver, funds to meet the capital needs
of the Receivership Estate in excess of the income from the
Receivership Estate;

q. Issue Receiver's Certificates in exchange for funds advanced by ~
the parties, Claimants, or third parties during the term of this
receivership, provided that the Temporary Receiver shall give notice to

all parties who have entered an appearance in this action and obtain

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 11 of 23
03-28-07 = 12:07pm = From-U.S. District Court 9513284478 T-503 P.011/023 F903

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1 prior approval of this Court. Such recejver's certificates shall be a first
2 and prior lien and a preference claim upon the Estate, or a portion of it
3 at the Temporary Receiver's election;
4 i Apply for, obtain, maintain, and renew as reasonably necessary
5 all trademarks, copyrights, patents, licenses, and permits required for
6 the operation of the Receivership Estate. Licenses and permits shall be
7 obtained in the name of USAIP wherever possible, and where not
8 possible, in the name of the Temporary Receiver;
9 Ss. institute such legal actions as the Receiver deems reasonably
10 necessary to collect accounts and debts, enforce agreements relating to
11 USAIP and the Receivership Estate, to protect the Property, and to
: i 12 recover possession of the Property or USAIP from persons who may
3 é 13 now or in the future be wrongfully possessing or occupying the
z 5 14 Property or USAIP, or any part thereof;
2 = 15 t. to take control of any remaining books and records of Defendant
ig 16 (the "Records"); and
= * 17 u. do such other lawful acts not inconsistent with the Order as the
a" 18 Temporary Receiver reasonably deems necessary to manage and
19 preserve the Receivership Estate and to perform such other functions
20 and duties as may from time to time be required and authorized by this
21 Court, by the laws of the state of California or by the laws of the United
22 States of America.
23 ||/IV. TEMPORARY RESTRAINING ORDER
24 9. Except as may be expressly authorized by this Court upon notice and a
25 || hearing, Plaintiffs, Defendant, and all people, entities, and agencies with actual
26 || potice of this Order are enjoined from:
27 b. collecting the Property, or any proceeds, revenues, accounts,
28 issues, profits or other revenues thereof;
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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 12 of 23

10.
by this Court, no person may buy, sell, or otherwise transfer any Property not in the

12:07pm = From-U.$. District Court 9513284478 T-503 =P.012/023  F-903

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c. withdrawing funds from any bank or other depository account
belonging to the Receivership Estate;

d. ‘terminating or causing to be terminated any license, permit, lease
contract or agreement relating to the Property;

e. altering, erasing, or destroying any Records without the prior
written consent of the Temporary Receiver;

f. holding themselves out as, or acting or attempting to take any
and all actions of any kind or nature as officers, employees,
representatives, or principals of USA Investment Partners, LLC, or the
Receivership Estate; and

g. otherwise interfering with the operation of the Receivership
Estate or the Receiver's exercise of any power hereunder or the
Temporary Receiver's discharge of his duties.

h. Upon receipt of a copy of this Order, or upon actual knowledge
of the entry of this Order, any other person or business entity shall also
be bound by this Paragraph 9.

Except as may be expressly authorized by the Temporary Receiver or

control of the Temporary Receiver.
11:

All actions that purport to seek equitable relief against the Temporary

Receiver or the Receivership Estate are hereby stayed regardless of venue or
jurisdiction. The Temporary Receiver is instructed to file a Request for an Order to
Show Cause with this Court if any business or person files any pleading in any other
court seeking equitable relief against the Receiver or the Property without first
seeking relief from this stay.

12.

All civil legal proceedings wherever located, including arbitration

proceedings, foreclosure activities, bankruptcy actions, or default proceedings, to

the extent such actions and proceedings interfere with this Court's exclusive control

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over USAJP or any of its Assets, are stayed in their entirety, and all Courts having
any jurisdiction thereof are enjoined from taking or permitting any action until
further Order of this Court.

13. The stay in this Order does not apply to the assets currently under the
control of the Bankruptcy Cases. The Temporary Receiver is instructed to prepare
the appropriate pleadings and appear before Judge Riegle in the Bankruptcy Cases .
for the purpose of requesting Judge Riegle to dissolve the TRO in the Adversary
Action to the extent, if any, that it relates to Assets of the Receivership Estate,
thereby enabling this Court to complete its jurisdiction over the Assets of the
Receivership Estate.

Vv. TURNOVER OF ASSETS

14. All persons and entities now or hereafter in possession of Property shall

forthwith surrender such control and possession to the Temporary Receiver. Without
limiting the generality of the foregoing, Plaintiffs, Defendant, and all persons and
entities in active concert and participation with the Plaintiffs and Defendants, shall
deliver to the Temporary Receiver all Property within their possession or control,
including, but not limited to, tangible assets, the Records, evidence and
documentation of intellectual properties owned or controlled by Defendant,
computers, hard drives, backup tapes, and all other media for the Defendant
computer network, all accounting records of USAJP, bank statements and records,
passwords for access, checking account, check registers, copies of paid and unpaid
invoices, cancelled checks and all other financial records.

15. All persons having notice of this Order, and having oral or written
agreements with USAIP or statutory or regulatory mandates for the supply of goods
or services, including without limitation, all computer software, communication and
other data services, centralized banking services, payroll services, insurance, utility
or other services to USAIP are hereby restrained until further order of this Court
from discontinuing, altering, interfering with or terminating the supply of such

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 14 of 23
12:07pm = From-U.$. District Court 9513284478 T-503 -P.014/023 = F+903

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goods or services as may be required by the Temporary Receiver; and the
Temporary Receiver shall be entitled to the continued use of Defendant's current
telephone numbers, fax numbers, internet addresses and domain names, provided in
each case that the normal prices or charges for all such goods or services received
after the entry of this Order shall be paid by the Temporary Receiver in accordance
with the ordinary course of business of Defendant and such supplier, or such other
practices as may be agreed upon by the Temporary Receiver and the supplier, or as
may be ordered by this Court.

16. Subject to the provisions of Section VII below (Document Depository),
all attorneys, accountants, engineers, scientists, and other professionals who have
represented USAIP, and their representatives, are hereby Ordered to deliver
immediately over to the Temporary Receiver all documents, files, and information
concerning Defendant and the Property that they have in their possession or control.
Any claims for non-payment for services shall be presented as a claim against the
Receivership Estate and shall not be used as a defense to turning-over as set forth in |
this paragraph.

17, All privileges in connection with professional representation of
Defendant and the Property shall accrue to the sole benefit of the Temporary
Receiver and the Receivership Estate and may only be waived by the Temporary
Receiver with the consent of this Court.

18. Ifthe Temporary Receiver determines, after reasonable inquiry that a
person or entity is in violation of the Turmover Order within this Order, the
Temporary Receiver is Instructed to give written notice thereof to the person or
entity violating the Turmover Order, with a copy of this Order attached, demanding
tumover of Property. Ifthe person or entity in possession fails or refuses to turnover
the Property after receiving notice, the Temporary Receiver shall file a Request for
an Order to Show Cause with this Court.

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 15 of 23

12:07pm = From-U.$. District Court 9513284478 7-503 =P.015/023 = F-903

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19, Paragraphs 14 through 18 above of this Order comprise a traditional
Turnover Order, and as such, are Case Management Orders and not Injunctions.
VI. DOCUMENT DEPOSITORY

20. In order to (a) establish a uniform method of identifying documents for

use in all proceedings related to this Receivership Action, including the Bankruptcy
Cases; (b) to minimize duplication of production efforts requesting and producing
parties; (c) to ensure the continued existence of relevant documents; and (d) to
reduce the aggregate costs of producing and maintaining documents, the Temporary
Receiver is Instructed to establish a depository for documents (the "Document
Depository").

21. For the purposes of this Order, the term "Document" shall mean
documents directly or indirectly related to this Receivership Action and the
Bankruptcy Cases that are in the possession of the Defendant and the Members on
the date of this Order, and shall include every tangible object capable of making a
truthful statement covered by the definitions of writing, recording, photographs,
originals, and duplicate in Rule 1001 of the Federal Rules of Evidence.

22. The Document Depository shall consist of a facility designated by the
Temporary Receiver and located within this District under the control of the
Temporary Receiver in which all Documents will be stored until further Order of the
Court.

23, The Plaintiffs, the Temporary Receiver, and the Members shall
designate Documents subject to a claim of privilege, immunity, or confidentiality
that are to be placed into the Document Depository under seal (the "Sealed
Documents"). The Sealed Documents placed into the Document Depository seal
shall only be unsealed pursuant to an Order of this Court.

24. Any Sealed Document placed into the Document Depository and
designated by the Members as subject to a direct or joint claim of privilege,

immunity, or confidentiality in favor of the Members shall be segregated from all

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 16 of 23
12:07pm = From-U.$. District Court 9513284478 T-503 P.016/023 = F~903

other Documents within the Document Depository. Any person, entity, or agency
desiring to inspect these Documents shall do so only after making such request of
this Court and giving prior notice to the Temporary Receiver and the Members.

25. Ifany criminal proceeding is commenced against the Members or the
Defendant, any person, entity, or agency requesting permission to inspect the Sealed
Documents shall do so only after making such request of this Court and the tribunal
with jurisdiction over the criminal proceeding, and after giving prior notice to the
Temporary Receiver and the Members of the request to inspect the Sealed
Documents.

Vit. JUDICIAL IMMUNITY

26. In accordance with Local Rule 66-6, the Receiver shall prepare and file
with the clerk's office routine reports.

27. The Temporary Receiver shall prepare and file, under oath, a true and
complete inventory of the Property within thirty (30) days after the date of this
Order, specifically setting forth therein any qualifications, limitations, or restrictions
on the inventory as filed.

28. The Temporary Receiver shall enjoy the limited judicial immunity
usually applicable to receivers. All who are acting, or have acted, on behalf of the
Temporary Receiver at the request of the Temporary Receiver are protected and
privileged with the same limited judicial immunity of this Court as the Temporary
Receiver has. In order to avail the agents of the Temporary Receiver with these
protections and privileges, the Temporary Receiver should file a notice of the
agency with this Court.

VIII. ORDER TO SHOW CAUSE RE APPOINTMENT OF PERMANENT

RECEIVER AND RE PRELIMINARY INJUNCTION

29. Defendant and creditors of Defendant are ordered to show cause, if any,

why a Permanent Receiver should not be appointed in this case and that Defendant

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 17 of 23
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shall appear at a hearing (the “Show Cause Hearing”) before this Court on if. ds]
2007, at 1238" Courtroom +e].
<{ The United States Courthouse located at. 3470 Twelfth Street,
Riverside, California

[_] The Robal Federal Building and Courthouse located at 255 East
Temple Street, Los Angeles, California.
It is further ordered that at the Show Cause Hearing, pursuant to Fed. R. Civ.
P. 65(b), Defendant and any creditors of Defendant shall show cause, if there is any,
why this Court should not enter a Preliminary Injunction, pending final ruling on the
Complaint against Defendant, continuing the injunctive relief set forth in this Order.

30. In support of its request for a Preliminary Injunction, Plaintiffs or the
Temporary Receiver may submit supplemental evidence discovered subsequent to
the filing of the Application for a Temporary Receiver and a TRO, as well as a
supplemental memorandum. Such documents shall be filed and served by no later
than 4:00 p.m. on the sixth court day prior to the Show Cause Hearing as scheduled
above. Such documents may be served on the Defendant by faxing or delivering the
documents to the attorney for the Defendant. It is further ordered that Defendant
and/or creditors of the Defendant shall file and serve any opposition to the issuance
of a Preliminary Injunction and the appointment of a Permanent Receiver, including
any declarations, exhibits, memoranda or other evidence on which they may intend
to rely, and any objections to any evidence submitted by Plaintiffs or the Receiver,
by no later than 4:00 p.m. on the fourth court day prior to the Show Cause Hearing.
Such documents may be served by fax upon the Plaintiffs’ counsel or by personal
delivery. )

31. There will be no direct examination of witnesses at the Show Cause
Hearing in this matter. Direct testimony shall be presented in the form of

declarations or affidavits.

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 18 of 23
12:08pm = From-U.$. District Court 9513284478 T5803 P.018/023 «F903

IX. MANAGEMENT OF THE RECEIVERSHIP ESTATE

32, The Temporary Receiver shall operate the Receivership Estate
consistent with this Order, further Orders of this Court, and Instructions from this

Court. The Temporary Receiver's primary function is to preserve and protect the
Property. To the extent the Temporary Receiver, in its business judgment, believes it
is necessary to operate USAIP in order to properly preserve and protect the
Property, the Temporary Receiver is hereby authorized to do so.

33. Ifthe Temporary Receiver intends to operate the Receivership Estate,
the Temporary Receiver shall include this decision and its support for this decision
in the Temporary Receiver's inventory report as required by paragraph 7 above.

34. In operating the Receivership Estate, the Termporary Receiver shall not
engage in speculation with the Property, nor shall the Temporary Receiver engage in
new business ventures.

35. Insituations where the Temporary Receiver believes it is necessary or
desirable to liquidate any particular asset, the Temporary Receiver shall first request
an Order of this Court approving the sale of the asset. With such approval, the
Temporary Receiver shall sell the asset with reasonable dispatch and convert the
asset into money, discharge all reasonable expenses, costs, and disbursements in -
comnection with the sale of that asset to the extent possible.

36. All sales by the Temporary Receiver are in the nature of Judicial Sales,
and as such the Temporary Receiver shall follow the common law rules applicable
to Judicial Sales in conducting any sale of Property.

37. Nosale of Assets shall be final until confirmed by Order of this Court.

38. The Temporary Receiver need not obtain prior Court approval to sell or
otherwise dispose of any tangible personal Property having a depreciated aggregate

value, as reflected on Defendant's books of less than $50,000;

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 19 of 23
12:08pm = From-U.$. District Court 9513284478 T-503 P.019/023  F-903

39. The Temporary Receiver may conduct a private or public sale,
provided that all sales by the Temporary Receiver shall be subject to competitive bid
except sales of Property under paragraph 34 above.

40. Any Claimant wishing to bid-in its Claim shall submit an offer
specifying the components of the bid within twenty days of the Temporary
Receiver’s request to this Court to conduct a sale of Property. The Temporary
Receiver or any party to this Receivership Action shall file objections to the bid, if
any, within fifteen days thereafter.

41. By execution of this Order, the Court terminates the Members'
responsibility and authority over the Property. The Members shall reasonably
cooperate with the Temporary Receiver in connection with all matters regarding
transition, operation of the Receivership Estate, and sale of Property. The Members
shall make themselves available to assist the Temporary Receiver during normal
business hours, upon reasonable notice, for a period not to exceed thirty days. For
this work, the Members shall be compensated as set forth in paragraph 46 below.

42. The Temporary Receiver is hereby authorized to apply the capital of
the Receivership Estate and the revenues collected by the Temporary Receiver in
connection with the management and operation of the Receivership Estate in the
following order of priority:

a. First, to pay the cost of the Bond;

b. Second, to pay the Temporary Receiver's time charges incurred
in connection with this Receivership and to prepay or reimburse the
out-of-pocket expenses of the Temporary Receiver; and

C. Third, to pay the necessary and reasonable costs of managing
and preserving the Receivership Estate, including the fees of the
professionals engaged by the Temporary Receiver.

d. Fourth, to repay any Receiver's Certificates, with interest as

provided for therein.

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 20 of 23

12:08pm = From-U.$. District Court 9513284478 T-503 = P.020/023 «= F-903

e. All funds in possession of the Temporary Receiver after
satisfaction of the foregoing obligations shall be invested by the
Temporary Receiver and held pending further order of this Court.

43. The Temporary Receiver's compensation for services under this Order
and the Temporary Receiver's reasonable out-of-pocket expenses shall be prepaid or
reimbursed pursuant to Waverton Group, LLC's Standard Hourly Rates as
previously submitted to this Court.

44. The Temporary Receiver shall file on at least a quarterly basis an
application for approval of the disbursements for professional fees and expenses to
himself or others. The Temporary Receiver may pay up to 90% of the professional
fees to himself or others and 100% of the expenses on a monthly basis, provided
itemized statements are made on a monthly basis and filed under Notice in this
Receivership Action.

45. Any provision of law to the contrary notwithstanding, the Temporary
Receiver is the only acting Manager of Defendant until further order of this Court.

46. The Temporary Receiver is authorized, without breaching the peace
and if necessary with the assistance of local peace officers or U.S. Marshals, to enter
and secure any premises, wherever located or situated, in order to take possession,
custody, or control of, or to identify the location or existence of Receivership Assets
or Records.

47. The Temporary Receiver shall erideavor to wind up the Receivership
expeditiously. —

X. FEDERAL AND STATE TAX INCOME TAX LIABILITY
48.  USAIP, as a limited liability company, has no direct liability for the

payment of federal or state income taxes. That liability falls to the Members.

49. In order to enable the payment of federal and state income taxes
generated by the sale of Property in the form of real estate, the Temporary Receiver
shall, within thirty days after the sale of Property in the form of real estate, perform

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 21 of 23
12:08pm = From-U.$. District Court . 9513284478 T5083 P.021/023 ~ F-903

a good-faith calculation of the highest possible taxable income from that sale and
pay to the Members from the proceeds of the sale an amount equal to the highest
possible taxable income.
XI. EFFECT OF THIS ORDER IN THE EVENT OF APPOINTMENT OF
PERMANENT RECEIVER
50. Subject to further orders of this Court, in the event that the Temporary

Receiver is appointed as the Permanent Receiver in this action, all terms and

provisions of this Order shall continue and remain in full force and effect.

DATED: _2 -27]-or Ad fauer—

URITED STATES DISTRICT COURT JUDGE

STEPHEN G. LARSON
UNITED STATES DISTRICT JUDGE

Presented by:

SulmeyerKupetz

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David $. Kupe
Attorneys for Robert A. Russell, an individual,
Placer County Land Investors, LLC, a California
limited liability company, and SVRB Investments,
LLC, an Arizona limited liability company, Plaintiffs

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 22 of 23
12:08pm = From-U.$. District Court 9513284478 T-503 P.022/023  F+903

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

At the time of service, I was over 18 years of age and not a party to this
action. I am employed in the County of Los Angeles, State of California. My
business address is 333 South Hope street, Thirty-Fifth Floor, Los Angeles,
California 90071-1406,

On March 23, 2007, I served the following document(s described as
PROPOSED] ORDER APPOINTING TEMPORARY RECEIVER,
EMPORARY RESTRAINING ORDER AND OTHER EQUITABL
RELIEF, AND ORDER TO SHOW CAUSE WHY A PRELIMINARY
INJUNCTION SHOULD NOT ISSUE AND A PERMANENT RECEIVER
SHOULD NOT BE APPOINTED on the interested parties in this action as

follows:
SEE ATTACHED SERVICE LIST

BY FAX TRANSMISSION: Based on an agreement of the parties to accept
service by. fax transmission, I faxed the document(s) to the persons at the fax
numbers listed in the Service List. The telephone number of the sending facsimile
machine was 213.629.4520, No error was reported by the fax machine that I used.
A copy of the record of the fax transmission, which I printed out, 1s attached.

BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or
an agreement of the parties to accept service by e-mail or electronic transmission, I
caused the document(s) to be sent from e-mail address dperez@sylmeyerlaw.com to
the persons at the e-mail addresses listed in the Service List. I did not receive,
within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccesstul.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on March 23, 2007, at Los Ang

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Case 06-10725-gwz Doc 3526-2 Entered 04/23/07 17:46:29 Page 23 of 23
03-28-07 = 12:08pm = From-U.$. District Court 9513284478 T-503 P.023/023 = F-903

SERVICE LIST

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